




Dismissed and Memorandum Opinion filed August 28, 2008








Dismissed
and Memorandum Opinion filed August 28, 2008.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-08-00658-CR

____________

&nbsp;

EDMUND LOUIS PEREZ, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
338th District Court

Harris County, Texas

Trial Court Cause No. 1155351

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant
entered a guilty plea to possession of less than one gram of heroin.&nbsp; In
accordance with the terms of a plea bargain agreement with the State, the trial
court sentenced appellant on June 27, 2008, to confinement for six months in
the State Jail Division of the Texas Department of Criminal Justice.&nbsp; Appellant
filed a pro se notice of appeal.&nbsp; We dismiss the appeal.&nbsp; 








The
trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp;
The trial court=s certification is included in the record on appeal.&nbsp; See
Tex. R. App. P. 25.2(d).&nbsp; The
record supports the trial court=s certification.&nbsp; See Dears v. State, 154 S.W.3d 610,
615 (Tex. Crim. App. 2005).

Accordingly,
we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed August
28, 2008.

Panel consists of Chief Justice Hedges and Justices
Guzman and Brown. 

Do Not Publish C Tex. R. App. P.
47.2(b)





